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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                             ENTERED
                                                                                            January 09, 2023
                           UNITED STATES DISTRICT COURT
                                                                                        Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

M.D.; bnf STUKENBERG, et al,                      §
                                                  §
         Plaintiffs,                              §
VS.                                               §   CIVIL ACTION NO. 2:11-CV-084
                                                  §
GREG ABBOTT, et al,                               §
                                                  §
         Defendants.                              §

                                             ORDER

        A hearing is scheduled for January 27, 2023 at 9:00 a.m. CST in the Dallas Division. No

later than January 21, 2023, all parties shall pre-mark and submit proposed exhibits they

intend to use during the course of the hearing.7KHVHH[KLELWVVKDOOEHfiled under seal



        SIGNED and ORDERED this 9th day of January, 2023.



                                                  ___________________________________
                                                             Janis Graham Jack
                                                      Senior United States District Judge




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